                      UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


RYAN DEKEYSER, et al.,
                              Plaintiff(s),

                      v.                                 FAIRNESS HEARING
                                                           Case No. 08-C-488
WAUPACA FOUNDRY, INC.,
                              Defendant(s).,

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JASON VANHOOSE, et al.,
                              Plaintiff(s),

                      v.
                                                           Case No. 18-C-1193
WAUPACA FOUNDRY, INC.,
                              Defendant(s).

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MICHAEL SARRELL, et al.,
                              Plaintiff(s),

                      v.
                                                           Case No. 18-C-1192
WAUPACA FOUNDRY, INC.,
                              Defendant(s).

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HOY GARRETT, JR., et al.,
                              Plaintiff(s),

                      v.
                                                           Case No. 18-C-1186
WAUPACA FOUNDRY, INC.,
                              Defendant(s).




HONORABLE WILLIAM C. GRIESBACH presiding                          Time Called: 1:59 p.m.
Proceeding Held: January 24, 2019                              Time Concluded: 2:09 p.m.
Deputy Clerk: Mara                                                       Tape: 012419




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Appearances:

    Plaintiff(s):     John Gordon Rudd, Jr.
                      T. Joseph Snodgrass

    Defendant(s):     Paul E. Benson
                      Mitchell Quick – via telephone
                      Erik Ellingson – Waupaca Foundry Inc.’s general counsel

Mr. Snodgrass states there are no objections as to the parties’ proposed settlement and that the effective date of
the settlement will come within 30 days after the final judgment is entered.
The Court inquires if Waupaca Foundry, Inc. has changed its policy.
Parties discuss the changes and regulations that took effect over time.

The Court grants the parties’ unopposed motion for final approval of the parties’ proposed settlement and
motion for an award of attorneys’ fees. The case will be dismissed with prejudice.




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